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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                   )
                                                            )                8:16CR63
                         Plaintiff,                         )
                                                            )
        vs.                                                 )                 ORDER
                                                            )
GILBERT GOMEZ, JR.,                                         )
JESUS AGUIRRE,                                              )
GILBERT GOMEZ, SR.,                                         )
MONICA GOMEZ and                                            )
MARTIN GOMEZ,                                               )
                                                            )
                         Defendants.                        )



        This matter is before the court on the motion to continue by defendant Monica Gomez (Gomez) (Filing

No. 86). Gomez seeks a continuance of the trial scheduled for August 29, 2016. Gomez's counsel represents

that government's counsel would have no objection to the motion. Upon consideration, the motion will be

granted. Trial will be continued as to all remaining defendants awaiting trial.



        IT IS ORDERED:

        1.       Gomez's motion to continue trial (Filing No. 86) is granted.

        2.       Trial of this matter as to all remaining defendants awaiting trial is re-scheduled for October

11, 2016, before Senior Judge Joseph F. Bataillon and a jury. The ends of justice have been served by

granting such motion and outweigh the interests of the public and the defendants in a speedy trial. The

additional time arising as a result of the granting of the motion, i.e., the time between August 19, 2016, and

October 11, 2016, shall be deemed excludable time in any computation of time under the requirement of the

Speedy Trial Act for the reason that defendants' counsel require additional time to adequately prepare the case.

The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).



        DATED this 19th day of August, 2016.

                                                            BY THE COURT:

                                                            s/ Thomas D. Thalken
                                                            United States Magistrate Judge
